Case 25-11434-pmm        Doc 13     Filed 06/12/25 Entered 06/12/25 14:16:26            Desc Main
                                   Document      Page 1 of 1



                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re: Alexus E. Garnett                     :       Chapter 7
                                             :
                                             :       Case No. 25-11434 (PMM)
                                             :
       Debtor.                               :


                                  ORDER TO SHOW CAUSE

       AND NOW, this bankruptcy case having been filed on April 14, 2025;

       AND the Debtor having failed to appear at two (2) scheduled §341 meetings, see doc. no.

12;

       It is hereby ORDERED, that the Debtor SHALL APPEAR for a hearing on

Wednesday, July 2, 2025 at 9:30 a.m. in Bankruptcy Courtroom No. 1, U.S. Courthouse,

900 Market Street, 2d Floor, Philadelphia, PA 19107 and show cause why this case should

not be dismissed for failure to appear at any of the §341 meetings.

       Failure to appear for the hearing may result in dismissal of this case without further

notice or hearing.



Date: 6/12/25
                                                     PATRICIA M. MAYER
                                                     U.S. BANKRUPTCY JUDGE
